                IN THE UNITED STATES DISTRICT COURT
                     NORTHERN DISTRICT OF IOWA
                        CEDAR RAPIDS DIVISION

                                                     )
TRACEY K. KUEHL, et al.,
                                                     )
                                                         Case No. C14-02034-JSS
                       Plaintiffs,                   )
        v.                                           )
                                                     )   JOINT MOTION FOR
PAMELA SELLNER, et al.,                              )   OVERLENGTH IN SUPPORT
                                                     )   OF PLAINTIFFS’ MOTION FOR
                       Defendants.                   )   SUMMARY JUDGMENT
                                                     )
                                                     )   Judge: Hon. Jon Stuart Scoles
                                                     )   Trial Date: October 5-9, 2015
                                                     )
                                                     )

                 JOINT MOTION FOR OVERLENGTH BRIEF
       Pursuant to Federal Rule of Civil Procedure 56 and Local Rules 5.2(g)(5), 7(h),

the Plaintiffs and Defendants hereby jointly move for permission to file overlength

memoranda in support of their Motions for Summary Judgment. The Parties conferred

on May 29, 2015 and agreed to grant each side ten (10) excess pages. The Parties agree

to file this Motion concurrently with their memoranda. As discussed below, good cause

exists to permit extra pages on memorandum supporting a dispositive motion.
I.     Argument

       The Parties have good cause for seeking leave to file excess pages. The Parties’

summary judgment motions will address several issues pertaining to Plaintiffs’

Complaint (ECF No. 2) and Defendants’ Answer (ECF No. 6).

       The case involves the alleged application of two federal statutes, the Endangered

Species Act, 16 U.S.C. § 1531 et seq., and the Animal Welfare Act, 7 U.S.C. § 2131 et

seq., and two sets of regulations promulgated by two different agencies. U.S. Fish &
Wildlife Service regulations and U.S. Animal and Plant Health Inspection Service




      Case 6:14-cv-02034-JSS Document 22 Filed 06/02/15 Page 1 of 3
regulations (9 C.F.R. Parts 2 and 3) to Defendants’ zoological park in Manchester, Iowa.

The Court should find good cause for excess pages based on the multiple statutory and

regulatory frameworks that the Parties must address factually in their memoranda.

       Moreover, the issues in this case involve issues of first impression for this Court.

As a matter of first impression, extra pages are necessary to fully and diligently present

the arguments and facts, and the Court should find good cause exists here for ten (10)

excess pages.

II.    Conclusion and Request for Relief

       Because good cause exists, the Parties jointly request that the Court grant their

Motion for Leave to File Overlength Briefs in Memoranda in Support of their Motions

for Summary Judgment, and consider the full thirty (30) pages of text submitted by each

side herewith.




      Case 6:14-cv-02034-JSS Document 22 Filed 06/02/15 Page 2 of 3
Dated: June 1, 2015                Respectfully submitted,



/s Larry J. Thorson                /s Daniel J. Anderson
ACKLEY KOPECKY & KINGERGY,
                                   Daniel J. Anderson (IA Bar No. 20215)
L.L.P.
4056 Glass Road, NE                danderson@wertzlaw.com
Cedar Rapids, IA 52402             WERTZ & DAKE
Ph. (319) 393-9090                 1500 Center St. NE #101
Fax (319) 393-9012                 Cedar Rapids, IA 52402-5500
Email lthorson@akklaw.com          319.861.3001


ATTORNEY FOR DEFENDANTS
                                   /s Jessica L. Blome
                                   Jessica L. Blome (pro hac vice)
                                   Missouri Bar No. 59710
                                   jblome@aldf.org

                                   Jeff Pierce (pro hac vice)
                                   California Bar No. 293085
                                   jpierce@aldf.org

                                   ANIMAL LEGAL DEFENSE FUND
                                   170 E. Cotati Avenue
                                   Cotati, CA 94931
                                   707.795.2533


                                   ATTORNEYS FOR PLAINTIFFS




     Case 6:14-cv-02034-JSS Document 22 Filed 06/02/15 Page 3 of 3
